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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

JARROD JOHNSON, individually, and on
Behalf of a Class of persons similarly
situated,
                                                  Civil Action No. 4:20-cv-0008-AT
            Plaintiffs,

     v.

3M COMPANY, et al.,

            Defendants.

           DEFENDANT THE CITY OF DALTON, GEORGIA,
        ACTING THROUGH ITS BOARD OF WATER, LIGHT AND
     SINKING FUND COMMISSIONERS, D/B/A DALTON UTILITIES’
          SUPPLEMENTAL BRIEF REGARDING STANDING
                FOR CLEAN WATER ACT CLAIMS

       Pursuant to the Court’s January 31, 2025 Order [Dkt. 1623], Defendant the

 City of Dalton, Georgia, acting Through Its Board of Water, Light, and Sinking

 Fund, D/B/A Dalton Utilities (“Dalton Utilities”) respectfully submits this

 Supplemental Brief in Support of its Motion for Summary Judgment [Dkt. 1256] to

 address the impact of the Court’s December 10, 2024 Order [Dkt. 1616] (the

 “Order”) on the Clean Water Act (“CWA”) claims asserted against Dalton Utilities.

 Based on the principles of standing, and specifically, injury and redressability, that

 underpin the Court’s Order, the CWA claims fail as a matter of law.




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                                  INTRODUCTION

       In the Complaint [Dkt. 716], Plaintiff asserts three claims against Dalton

Utilities. In Count One, Plaintiff alleges that Dalton Utilities is violating the CWA

by discharging PFAS from its Land Application System (“LAS”) without a National

Pollutant Discharge Elimination System (“NPDES”) permit. In Count Two, Plaintiff

alleges that Dalton Utilities is violating the CWA with respect to its Stormwater

NPDES Permit. In Count Eight, Plaintiff asserts that Dalton Utilities is responsible,

along with the other defendants, for abatement of a nuisance. Although by its terms

the Court’s Order only addressed Plaintiff’s lack of standing to pursue Count Eight,

its reasoning applies equally to Counts One and Two.

       In the Order, the Court determined that Plaintiff does not have standing to

assert a claim for abatement of a nuisance because he does not have a concrete,

particularized injury that would be redressable by remediation of the LAS.

Specifically, the Court held that Plaintiff failed to establish any recreational injury,

property harm, or health injury resulting from the presence of PFAS in the waters in

and around the City of Rome. The only harm that Plaintiff established was a past

ratepaying injury that is not continuing. Based on this same logic, Plaintiff lacks

standing to assert CWA claims against Dalton Utilities because Plaintiff’s ratepaying

injury will not be redressed by the injunctive relief or the civil penalties that Plaintiff

seeks under the CWA.



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                        PROCEDURAL BACKGROUND

      Plaintiff filed his Fourth Amended Complaint on January 11, 2022 [Dkt. 716]

(the “Complaint”).1 In his Complaint, Plaintiff alleges three claims against Dalton

Utilities. First, Plaintiff alleges that Dalton Utilities is violating Section 301(a) of

the CWA, 33 U.S.C. § 1311(a), by discharging PFAS from the LAS into the

Conasauga River and its tributaries without a NPDES permit (Count One).

Compl. ¶¶ 107–21.      Second, Plaintiff alleges that Dalton Utilities is violating

Sections 301(a) and 402 of the CWA, 33 U.S.C. §§1311(a) and 1342, by discharging

PFAS from stormwater outfalls at the LAS, in violation of its NPDES General

Stormwater Permit (Count Two). Id. ¶¶ 123–30. Plaintiff seeks injunctive relief and

civil penalties for the alleged CWA violations. Id. ¶¶ 119–21, 128–30. In addition,

Plaintiff sought injunctive relief under state law to abate a purported public nuisance

at the LAS (Count Eight). Id. ¶¶ 194–200.

      On May 31, 2023, Dalton Utilities sought summary judgment as to all three

claims [Dkt. 1256-1] (the “Motion”). Plaintiff filed an opposition to Dalton Utilities’

Motion on October 19, 2023 [Dkt. 1420]. Dalton Utilities replied on December 22,

2023 [Dkt. 1521]. The Court has not ruled on the Motion. However, the Court’s



1
 In its Order, the Court refers to the Third Amended Complaint [Dkt. 418] as the
“operative complaint.” Order at 13. However, Plaintiff filed a Fourth Amended
Complaint on January 11, 2022 [Dkt. 716]. Although Plaintiff included additional
violations of the CWA against Dalton Utilities, Plaintiff did not allege new injuries.

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December 10, 2024 Order directly disposed of Count Eight (abatement of the

nuisance), and its reasoning also forecloses Plaintiff’s two CWA claims (Counts One

and Two).

       In its Order [Dkt. 1616], the Court held that Plaintiff does not have standing

to pursue injunctive relief in the form of LAS remediation. See Order at 39.

Specifically, the Court concluded that (1) Plaintiff did not establish a cognizable

health injury because he did not provide “concrete evidence of a health injury that

he has suffered,” id. at 19–21; (2) Plaintiff did not establish a cognizable property-

based injury because he only relied on “vague” assertions that did not suffice to show

a “concrete, particularized and actual (or imminent) property injury,” id. at 21–23;

(3) Plaintiff did not establish a recreational injury because he only proffered “a vague

assertion of intended recreation,” id. at 23–28; and (4) although Plaintiff established

a ratepaying injury (because he initially paid increased water surcharges as a result

of PFAS contamination), remediation of the LAS could “not redress Plaintiff’s

ratepaying injury,” id. at 29–30. Thus, Plaintiff lacked standing to obtain injunctive

relief. Id. at 39.

       The Court concluded that Plaintiff was “trying to fit a square peg in a round

hole” by requesting an “expansive and expensive LAS remediation program . . .

when money damages would adequately compensate for [his] injury.” Id. at 32.

Additionally, the Court concluded that “[e]ven if Plaintiff had a continuing,



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redressable injury sufficient to support injunctive relief at the outset of this case,”

his request for injunctive relief was mooted by Rome’s settlement agreement with

Defendants. Id. at 33–37. Money damages for Plaintiff’s past ratepaying injury are

still available. Id. at 2 n.1.

       Following the Court’s Order, as reported by the Special Master, counsel for

Plaintiff and Dalton Utilities conferred. On January 31, 2025, the Court granted

Dalton Utilities and Plaintiff leave to submit supplemental briefing regarding the

implications of the Court’s Order for Plaintiff’s standing under the CWA [Dkt.

1623]. Because Plaintiff lacks standing, the Court should grant Dalton Utilities’

Motion.2

                                 LEGAL STANDARD

       A plaintiff bears the burden to demonstrate that he has standing for each claim

and each form of relief that he seeks. Friends of the Earth, Inc. v. Laidlaw Env’t

Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). “[T]o satisfy Article III’s standing

requirements, a plaintiff must show (1) [he] has suffered an ‘injury in fact’ that is (a)



2
  Shortly after the Order was entered, on December 20, 2024, Plaintiff’s counsel sent
to Dalton Utilities a Notice of Intent to File Citizen Suit Pursuant to the CWA on
behalf of new plaintiffs who purport to have health injuries, property-based injuries,
and recreational injuries arising out of Dalton Utilities’ operation of the LAS. On
February 14, 2024, Plaintiff’s counsel sent to Dalton Utilities a statutory ante litem
notice on behalf of a subset of those plaintiffs, acting individually and on behalf of
a class of City of Rome water and sewer accountholders, who purport to assert state
law tort claims arising out of Dalton Utilities’ operation of the LAS.

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concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and (3) it is likely, as opposed to merely speculative, that the injury will

be redressed by a favorable decision.” Id. at 180–81. “To determine whether an

injury is redressable, [courts] consider the relationship between the judicial relief

requested and the injury suffered.” Murthy v. Missouri, 603 U.S. 43, 73 (2024)

(internal quotations omitted).

                                    ARGUMENT

      As this Court previously held, Plaintiff failed to demonstrate any injury other

than an economic harm from paying increased water rates that Plaintiff previously

paid but does not face in the future. Order at 30–40. Specifically, Plaintiff failed to

establish any adverse health consequences, harm to property interests, or recreational

injury. Id. at 21, 23, 27. Plaintiff’s only injury is a wholly past economic harm. See

id. at 29. That lone ratepaying injury would not be redressed by either the injunctive

relief or civil penalties he seeks under the CWA. Therefore, Plaintiff lacks standing

to pursue either CWA claim alleged in the Complaint.

      To establish standing, “[t]he relevant inquiry is whether, assuming

justiciability of the claim, the plaintiff has shown an injury to himself that is likely

to be redressed by the requested relief.” Marshall Durbin Co. of Jasper v. U.S. Env’t

Prot. Agency, 788 F.2d 1490, 1492 (11th Cir. 1986); see also Steel Co. v. Citizens



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for a Better Env’t, 523 U.S. 83, 107 (1998) (“Relief that does not remedy the injury

suffered cannot bootstrap a plaintiff into federal court; that is the very essence of the

redressability requirement.”). “Put another way, the requested relief must connect

to, match, and remedy the cognizable injury in fact.” Order at 18.

      The citizen suit provision under the CWA confers standing on “any person or

persons having an interest which is or may be adversely affected.”                    33

U.S.C. § 1365(g). This standing provision is coextensive with and “reaches the

outer limit of Article III standing.” Middlesex Cnty. Sewerage Auth. v. Nat’l Sea

Clammers Ass’n, 453 U.S. 1, 16 (1981) (The CWA’s “citizen-suit provisions apply

only to persons who can claim some sort of injury. . . .”). Thus, the Supreme Court

has “held that environmental plaintiffs adequately allege injury in fact when they

aver that they use the affected area and are persons ‘for whom the aesthetic and

recreational values of the area will be lessened’ by the challenged activity.” Laidlaw,

528 U.S. at 183. However, as in any other context, to have standing to pursue civil

penalties or injunctive relief under the CWA, plaintiffs must demonstrate “it is

likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Id. at 181; see also Lujan v. Defs. of Wildlife, 573–74 (1992)

(no redressability under Endangered Species Act where requested relief “would not

remedy respondents’ alleged injury” because “seeking relief that no more directly

and tangibly benefits him than it does the public at large—does not state an Article



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III case or controversy”).

      The CWA provides private plaintiffs with two potential remedies—injunctive

relief and civil penalties. Where a plaintiff demonstrates an injury that would be

redressed by an injunction, under the CWA, courts may fashion injunctive relief “to

enforce . . . an effluent standard or limitation, or . . . an order [issued by the

Administrator or State with respect to such a standard or limitation], or to order the

Administrator to perform [a nondiscretionary] act or duty, as the case may be.”

33 U.S.C. § 1365(a). Additionally, the Court may order a CWA defendant to pay

civil penalties to the United States Treasury equal to an amount “not to exceed

$25,000 per day for each violation.” 33 U.S.C. § 1319(d). Here, Plaintiff’s lone

injury—a wholly past ratepaying injury—will not be redressed by either an

injunction or civil penalties.

      First, this Court’s Order finding that Plaintiff failed to establish standing to

seek common law abatement applies with equal force to Plaintiff’s standing to

pursue an injunctive remedy under the CWA. As the Court correctly recognized,

“Plaintiff has not shown, with the degree of evidence required, a ‘likelihood that the

requested relief will address the alleged injury[,]’” particularly because “the injury

in fact – increased water rates – is so clearly a monetary harm that can be fully

addressed through damages.” Order at 31 (quoting Steel Co., 523 U.S. at 103). The

same is true with respect to any injunctive relief Plaintiff seeks under the CWA. An



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injunction prohibiting future effluent violations or requiring Dalton Utilities to

obtain an NPDES permit for alleged point sources from the LAS would not redress

Plaintiff’s past ratepaying injury, which “can be fully addressed through damages.”

Id.3

       Second, the Court’s Order likewise forecloses Plaintiff’s standing to pursue

civil penalties under the CWA. While courts have found that the deterrent effect

associated with civil penalties can redress recreational and aesthetic injuries, here,

Plaintiff’s ratepayer harm is materially different because, unlike a desire to swim in

a river in the future, Plaintiff’s previous payment of elevated water rates is wholly

in the past. In Laidlaw, the Court explained that civil penalties—like injunctive

relief—may “afford redress to citizen plaintiffs” with aesthetic and recreational

injuries stemming from the contamination of a river if the penalties carry “with them

a deterrent effect that ma[kes] it likely, as opposed to merely speculative, that the

penalties would redress [plaintiff’s] [aesthetic and recreational] injuries by abating

current violations and preventing future ones.” 528 U.S. at 708. In contrast, here,

this Court already determined that Plaintiff failed to establish any aesthetic, health,



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  As the Court found in its Order, Plaintiff’s claim for injunctive relief is also moot
because the “Defendants’ settlement with Rome in the parallel action . . . depriv[ed]
Plaintiff [] of any ongoing ratepaying harm.” Order at 33; id. at 35 (“With no future
harm, or imminent future harm, Plaintiff’s request for injunctive relief is moot.”).
The same mootness analysis applies to Plaintiff’s request for injunctive relief under
the CWA.

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or recreational injury (Order at 21, 23, 27), and Plaintiff’s past ratepaying injury will

not be redressed by any deterrent effect of CWA penalties. See Coastal Env’t Rts.

Found. v. Naples Rest. Grp., LLC, 115 F.4th 1217, 1228 (9th Cir. 2024) (“[W]hen

[CWA] violations aren’t reasonably expected to recur, civil penalties lose their

deterrent effect and they no longer remediate a citizen plaintiff’s injury, which

means the citizen plaintiff no longer has a cognizable interest under Article III.”);

Mississippi River Revival, Inc. v. City of Minneapolis, MN, 145 F. Supp. 2d 1062,

1065 (D. Minn. 2001), aff’d sub nom., 319 F.3d 1013 (8th Cir. 2003) (“If deterrence

is the sole purpose underlying civil penalties, it follows that a claim to assess civil

penalties is moot if civil penalties no longer will deter the defendant from violating

the CWA.”).4

      Courts have also found that a private economic injury cannot be redressed

through statutory civil penalties, which would be paid to the government. For

example, in Steel Co., the Supreme Court held that a plaintiff lacked standing to

pursue a claim for civil penalties because the penalties would not remedy the



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 Nor is any deterrent effect needed to compel Dalton Utilities to address current and
future PFAS concerns. On December 9, 2024, Dalton Utilities filed a lawsuit against
PFAS manufacturing defendants and carpet manufacturing defendants, seeking,
inter alia, declaratory judgment and response costs to remediate Defendants’ PFAS
contamination at Dalton Utilities’ Publicly Owned Treatment Works under the
Comprehensive Environmental Response, Compensation, and Liability Act
(“CERCLA”), 42 U.S.C. §§ 9607, 9613(G)(2). City of Dalton, Ga. v. 3M Company,
No. 4:24-cv-00293.

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plaintiff’s alleged injury for late reporting of toxic chemical use and releases under

the applicable environmental statute. 523 U.S. at 104–07. As the Court explained,

because civil penalties were not payable to plaintiff and “although a suitor may

derive great comfort and joy from the fact that the United States Treasury is not

cheated, that a wrongdoer gets his just deserts, or that the Nation’s laws are faithfully

enforced, that psychic satisfaction is not an acceptable Article III remedy because it

does not redress a cognizable Article III injury.” Id.; see also City of Seattle v.

Monsanto Co., 387 F. Supp. 3d 1141, 1156 (W.D. Wash. 2019) (finding no CWA

standing where manufacturer’s alleged injury, related to past costs arising from

environmental cleanup process, was not fairly redressable by relief sought—

including civil penalties under CWA—because “past costs cannot be redressed by

[such] relief as any civil penalties would go to the United States Treasury” and it

was “very unlikely that the imposition of an injunction or civil penalties upon [city]

w[ould] redress [manufacturer’s] future defense costs and contingent liabilities”).

      In sum, Plaintiffs’ two CWA claims seek remedies that will not redress his

past ratepaying injuries. The Court already determined that Plaintiff’s ratepaying

injury “provides no legal foundation for the Court to grant such extensive injunctive

relief.” Order at 39. Likewise, civil penalties would be paid to the Government, not

Plaintiff, and any deterrent effect those penalties may have on Dalton Utilities, or

incentive to take actions in the future to cease alleged permit violations, would not



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redress the elevated water rates Plaintiff paid in the past. In its Order, the Court

found that the ratepaying injury can be compensated by money damages, which are

still at issue. Order at 2 n.1. Those money damages—rather than civil penalties—

will redress Plaintiff’s past ratepaying harm. Because Plaintiff lacks standing to

pursue claims under the CWA and for abatement, the Court should grant Dalton

Utilities’ Motion in its entirety [Dkt. 1256].

      Respectfully submitted, this 21st day of February, 2025.

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                     LOCAL RULE 7.1D CERTIFICATION


      Counsel certifies that the foregoing document was prepared in Times New

Roman, 14-point font, in compliance with Local Rule 5.1B.

      This 21st day of February, 2025.

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                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was electronically filed with the Clerk of

Court using the CM/ECF system, which automatically serves notification of such

filing to all counsel of record.

      This 21st day of February, 2025.

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